













NUMBER 13-09-00114-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

AUTOMOTIVE CONSULTING SERVICES, INC., 	Appellant,


v.



GUERRA &amp; MOORE, LTD., LLP, 

CARLOS L. GUERRA, AND J. MICHAEL MOORE,	Appellees. 

_____________________________________________________________


On Appeal from the County Court at Law No. 6 


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Garza and Vela


Memorandum Opinion Per Curiam


	Appellant perfected an appeal from a judgment entered by the County Court at Law
No. 6 of Hidalgo County, Texas, in cause number CL-08-1868-F.  The parties have filed
an agreed, joint motion for disposition pursuant to settlement.  The parties request that this
Court dismiss the appeal.

	The Court, having considered the documents on file and the parties' agreed, joint
motion for disposition pursuant to settlement, is of the opinion that the motion should be
granted.  See Tex. R. App. P. 42.1(a).  The parties' motion to dismiss is granted, and the
appeal is hereby DISMISSED.  In accordance with the agreement of the parties, costs are
taxed against the party incurring same. See Tex. R. App. P. 42.1(d).  Having dismissed the
appeal at the parties' request, no motion for rehearing will be entertained, and our mandate
will issue forthwith.


							PER CURIAM

Memorandum Opinion delivered and 

filed this the 26th day of March, 2009. 





	


